                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
        vs.                                        )
                                                   )                3:94-cr-00109
 LEROY LINDSAY,                                    )
                                                   )
                Defendant.                         )
                                                   )
                                                   )
 LEROY LINDSAY,                                    )
                                                   )
                Petitioner,                        )
                                                   )                3:07-cv-00455
        vs.                                        )
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                Respondent.                        )
                                                   )

                                            ORDER

       THE MATTER is before the Court on Defendant’s pro se Motion to Vacate Forfeiture Order

Pursuant to Rule 41(g) of the Federal Rules of Criminal Procedure (Doc. No. 180 in case number

3:94-cr-00109). Also before the Court is Defendant’s “Memorandum of Law Pursuant to Rule 52(b)

of the Rules of Criminal Procedure” (Doc. No. 179 in case number 3:94-cr-00109 and Doc. No. 1

in case number 3:07-cv-00455).

       Initially, the Court notes that the contents of the “Memorandum” present issues that are more

appropriate for an appeal to the Court of Appeals for the Fourth Circuit and not arguments to make

directly to this Court without an accompanying motion. Even if the Court were to treat the

“Memorandum” as a motion, Rule 52 of the Federal Rules of Criminal Procedure (which appears



      Case 3:94-cr-00109-FDW           Document 181         Filed 11/27/07      Page 1 of 2
to be Defendant’s stated reason for review) explains the concept of plain error, but provides no basis

for making a motion pursuant to that rule. At best, the Memorandum concerns the correction of the

sentence imposed on him and is more appropriately construed as a petition made pursuant to 28

U.S.C. § 2255. The Clerk’s office has therefore reassigned the memorandum as a petition

accordingly. The petition, however, falls outside the time limitations set forth in § 2255 and is

therefore time barred. As such, it is DISMISSED.

       Turning next to the “Motion to Vacate Forfeiture,” Defendant has failed to present any set

of facts to support a motion of this sort. Defendant’s bare assertion that the forfeiture took place

without proper or constructive notice is insufficient in light of the record before the Court.

Moreover, Defendant has relinquished his right to challenge any forfeiture in this matter. In his Plea

Agreement (which he does not contest), Defendant specifically agreed to “forfeit and otherwise

waive any ownership right he might possess in all items seized during the investigation of the acts

alleged in the Bill of Indictment. The Court has jurisdiction over the disposition of such evidence

and may order the investigative agency to dispose of the evidence in such manner asp rovided by the

agency’s regulations. . . .” (Doc. No. 79, ¶ 17). Accordingly, this motion is DENIED.

       IT IS, THEREFORE, ORDERED that Motion to Vacate Forfeiture Order Pursuant to Rule

41(g) of the Federal Rules of Criminal Procedure (Doc. No. 180 in case number 3:94-cr-00109) is

DENIED. Defendant’s “Memorandum of Law Pursuant to Rule 52(b) of the Rules of Criminal

Procedure” (Doc. No. 179 in case number 3:94-cr-00109 and Doc. No. 1 in case number 3:07-cv-

00455) is DISMISSED, and the Clerk is DIRECTED to CLOSE the civil case 3:07-cv-00455.

       IT IS SO ORDERED.                        Signed: November 26, 2007




       Case 3:94-cr-00109-FDW           Document 181         Filed 11/27/07      Page 2 of 2
